Case 1:23-md-03076-KMM Document 244 Entered on FLSD Docket 09/14/2023 Page 1 of 2




                                UNITED STATES DISTRICT COURT

                                SOUTHERN DISTRICT OF FLORIDA
                                           MDL No. 3076
                                 Lead Case No. 1:23-md-03076-KMM
                                  Associated Case No. 1:23-cv-21023




         In Re: FTX CRYPTOCURRENCY
         EXCHANGE COLLAPSE LITIGATION

         This Document Relates To:

         GARRISON v. PAFFRATH, ET AL.
         Case No. 23-cv-21023




                                          NOTICE OF APPEARANCE

                PLEASE TAKE NOTICE that Kimberly P. Stein, Esq. of the law firm Flangas Law

         Group, is appearing pro hac vice in this matter as counsel for Defendants GRAHAM

         STEPHAN, ANDREI JIKH, and JEREMY LEFEBVRE, and requests that all papers

         served in this case be delivered to and served to the following e-mail address:

         kps@fdlawlv.com. A Certificate of Understanding Regarding Electronic Filing has been
         previously filed in this matter (ECF No. 146).



         Dated this 14th day of September, 2023.
                                                      FLANGAS LAW GROUP
                                                      /s/ Kimberly P. Stein
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         .
Case 1:23-md-03076-KMM Document 244 Entered on FLSD Docket 09/14/2023 Page 2 of 2



                                    CERTIFICATE OF SERVICE

                I, the undersigned, do hereby certify that on September 14, 2023, I electronically

         filed the above and foregoing document entitled NOTICE OF APPEARANCE using the

         CM/ECF system which will send a notice of electronic filing to all CM/ECF registrants.


                                                     /s/Andi Hughes
                                                     An employee of Flangas Law Group




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